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                  EXHIBIT B-149
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                                                                                 FILED IN OFFICE

                     IN THE SUPERIOR COURT OF FULTON COUNTY
                                 STATE OF GEORGIA
                                                                                DEPUTY CLERK SUPERIOR COURT
                                                                                     FULTON COUNTY, GA
                                                     )
IN RE 2 MAY 2022 SPECIAL PURPOSE                     )      No. 2022-EX-000024
GRANDJURY                                            )


                      MEDIA INTERVENORS' NOTICE OF APPEAL

       The Atlanta Journal-Constitution; The Associated Press; Bloomberg L.P.; Cable News

Network, Inc.; CMG Media Corporation and its television station WSB-TV; Dow Jones &

Company, publisher of The Wall Street Journal; The E.W. Scripps Company on behalf of

Scripps News and its local media station group; Gray Media Group, Inc. and its television station

WANF; The New York Times Company; and Tegna Inc. and its television station WXIA-TV

(collectively, "Media Intervenors"), herby gives notice, pursuant to Ga. Ct. App. Rule 31(k), that

Media Intervenors appeal the order entered by the trial court on February 13, 2023, a copy of

which is attached hereto as Exhibit A.

       Attached hereto as Exhibit Bis a true and correct copy of the Court of Appeals' April 10,

2023 Order granting Media Intervenors Application for Discretionary Appeal.

       The Clerk will please omit nothing from the record on appeal and pursuant to the Court

of Appeals' April 10, 2023 Order, include a copy of said Order in the record.

       The transcript of the January 24, 2023 hearing, which has been filed with this Court, shall

be included in the record. There are no other transcripts necessary for inclusion in the record on

appeal. •

       The Court of Appeals, rather than the Georgia Supreme Court, has jurisdiction over this

appeal pursuant to Uniform Superior Court Rule 21.4, and Ga. Sup. Ct. Rule 35 because this

appeal does not raise matters "reserved to the Supreme Court or conferred on other courts by
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law," as so held by the Georgia Supreme Court by order dated March 1, 2023, and hereto

attached as Exhibit C.

       Dated this the 19th day of April, 2023



                                            Respectfully submitted,

                                     FOR: KILPATRICK TOWNSEND & STOCKTON LLP




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                                            Attorneys for Media Intervenors




                                                2
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                                CERTIFICATE OF SERVICE

       This is to certify that the undersigned has this day served a true and correct copy of the

above via Electronic and United States Mail upon:



     Fani T. Willis
     Will Wooten
     F. McDonald Wakeford
     District Attorney's Office
     136 Pryor Street SW, 3rd Floor
     Atlanta, Georgia 30303
     Fani. willisda@fultoncountyga.gov
     Will. wooten@fultoncountyga.gov
     fincdonald.wakeford@fultoncountyga.gov


               DATED this the 19th day of April, 2023




                                              Thomas M. Clyde
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         EXHIBIT ''A''
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                                                                          FILEDIN OFFICE

                    IN THE SUPERIORCOURTOF FULTONCOUN'IY
                               STATEOF GEORGIA

IN RE 2 MAY2022 SPECIALPURPOSE
GRANDJURY                                            2022~EX-000024




       ORDER RE: SPECIAL PURPOSE GRAND JURY'S FINAL REPORT

        On 20 January 2022, the District Attorney of Fulton County petitioned the Chief

Judge of the Superior Court of Fulton Countyto convene the Superior Court bench to

consider the District Attorney~s request for a specialpurpose grand jury. That grand.jury's

charter, if approved by the Court, would be to .conduct a criminal investigation into "the

facts and circumstances relating directly or indirectlyto possible attempts to disrupt the

lawful administration of the 2020 elections in the State of Georgia" and to draft and

submit a report recommending whether anyone should be prosecuted for such potential

crimes. On 24 January 2022, the Chief ,Judge,having received a' majority of the twenty

judges' assent, issued an Order authorizing·the conveningof a.special purpose grandjury

forthis criminal investigation.

        On 2 May 2022; the special purpose grand jury was selected and sworn in; in ,June

2022   it began receiving evidenceand investigatingthe posslbility of criminal inte1ference
in the 2020 general election. The special purpose grand jury, aftet hearing months of
testimony from dozens of witnesses, submitted its .final repmt to the undersigned in
December2022pursuantto O.C.G.A. §15-12-101(a). In issuing itsfinal.report,thespecial

purpose grandjury also recommended that its report be published. O.C.G.A.§ 15-12-80.

Upon reviewing that report, the undersigned subsequently recommended to the

Honorable Chief ,Judge Ural Glanvillethat the special purpose grand jµry be djsso}ved.

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O,C.G.A.§ 15-12~101(b).Chi~fJudge Glanvillethen polled the Superior Court bench, a
majorityof which voted to dissolvethe-specialpurpose ~d                  jury. Followingthat vote,
the undersigned dissolvedthe specialpurpose grand jury by way of an Order ~ntered on
9 January 2023.
        On 17 January 2023, the undersigned convened a hearing on the question of
whetherthe specialpurpose grand jury's finalreport shouldbe made public. The District
Attorneypresented argument, as did counsel for a broad collectionof media interests.
Having considered those arguments aq.d relevant statutory and. case law, and for the
reasons set forth below,the undersignedconcludesthat much of the final report should
                                                I


not be disclosed until such time as,the District Attorney completes her investigation,
although two parts may now be published, consistent with protecting the due process
rights of all involved.
        As a threshold matter, the Court rejectsthe med4tinterven9rs' conteDtionthat.the

specialpurpose grand jury's final report is somehowa "court record"and thus subjectto
the public's general right of access to such things.1 See, e.g., In re Atlanta Joumal-
Constitution, 271Ga.436, 437 (1999)~The mediaintervenoIS'literalist argumentthat the
final report is a court record because (1) the Court conv~nedthe special purpose grand
jury and (2) the fmal report :was deliveredto·the Courtis unp·ersuasive.The final report,
as the District Attorney argued, wasultimately destined for ·her, not the. Court. It will
                                           'I
inform her investigativedecision-makingprocess, not the Court's. She re.questedit, she
petitionedthe ChiefJudge to convenea specialpurpose grandjmyfor it, and she and her


1 A corollary of this conclusion is that the Court Is not bound by the sealing requirements of Uniform
Superior Court.Rule21, althoughthe Court notes that, ~cldentaIJ, consistent with Untform·SuperiorCourt
Rule21.1, the Court held a hearing on the topic,of~osure and.the Court wil\ in this Order, be addressing
many of the factors it would be obligatedto consider underRule 21 if it were making a decision to seal a
court record.
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staff worked with that special purpose grandjury for months in an effort to provide the
grand jury with sufficient evidenceto generate the report for her. Moreover,the only
physicalcopy of the report is in the DistrictAttorney'spossession,not the Court's; it sits
                                             \

in no docket or official court or clerk file. That the report~ per statutory process,
incidentallypassed through the Court's hands does not make it an officialrecord of the
court any more so than a wiretap application or a search warrant affidavit. All three
documents -- report, applic.ation,and affidavit -- are parts of criminal investigative
processes, not court proceedings.2
         There is also the matter of the special purpose grand jury's "recommendation,"
made pursuant to O.C.G.A.§ 15-12-80, that its final report be published. The statutory
language is somewhat misleading. An o~c.G.A. § 15-12-80 "recommendation"is more
than a mere suggestion or request: if a grand jury recommends publication, "the judge
shall order the publication as recommended,,, O.C.G.A.§ 15-12-80 (emphasis added).

Indeed, in general,the onlyscreeningfunctionthe supervisingjuclgehas, when faced with
an O.C.G.A.§ 15-12-80 "recommendation"to publish, is to ensure that those portions, if
any, that are the product of ultra.vires investigationby the grandjury are redacted. In re
July-August~ 2003 DeKalb Cnty. Grand Jury, 265 Ga. App. 870,. 871 (2004). In other

words, if the grand jury exceeded the scope of its authority in investigating (and
subsequently reporting), that unauthorized part of the grand jury's presentment must be

removedbefore publication.a


2 Later, when the criminal investigation is complete and an indictment has been obtained, the wiretap
applicationand the search warrant affidavitdo becomepart of the court record through discoveryand pre-
trial litigation. At that point the public's right of access accrues. The special purpose grand jury's final
report is no different.
a The District Attorney argues that O.C.G.A.§ 15-12-80 does not apply to the special purpose grand jury's
final report because § 15-12-80 speaks only to "general presentments" and not "final reports", The Court
                                                 Page3of8
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        -Havingreviewed the final report, the undersigned concludes that the special

purpose grand jury did not exceedthe scope of its prescribedmission. Indeed, it_provided
the District Attorney with exactlywhat she requested: a roster of who should (or should
not) be indicted, and for what, in relation to the conduct (and aftermath) of the 2020
general election in Georgia. Thus, facially,the final report should be published in toto
pursuant to O.C.G.A.§ 15--12..so.
        Bu4 as with many things in the law, it is not that simple. This special purpose

grand jury investigation was, appropriately, largely controlled by the .DistrictAttorney.
She and her team decided who would be subpoenaed, when they would appear, what
questions would be asked, and what aspects of the general election would be explored.
The grand jurors were, of course, able to question the witnesses as well, but the process
was essentially an investigativetool designed to enable the District Attorney to gather
more information about what actuallyhappened in the days followingthe general election
                                                                             '
in Fulton County (and elsewhere) so that she could make a more informed decision on

whether Georgialaw was violatedand wbether'anyoneshould be charged for doing so. It
was -- again, entirely appropriately - a one-sided exploration. There were no lawyers
advocatingfor any targets of the investigation.4Potentialfuture defendants were not able,



rejeefsthis semantics-over-substanceargument Regulargrand.juriesissue (1)indictments (and, formerly,
"specialpresentments," which, like indictments, were chargingdocuments in which crimes were formally
alleged against a defendant) and (2) general presentments. General presentments are, in both fonn and
substance, reports of grand juiy investigations. Specialpurpose grandjuries, unlike regular grandjarie.s,
may not issueindictments (or specialpresentments),Kenerlyv. State,311 Ga.App.190 (2011), whichleaves
them onlygeneral presentments.(or reports) as an end product. A generalpresentment by any other name
remains subject to O.C.G.A.§ 15-12-80 1s strictures.
4 Manyof the witnessessubpoenaed to appearbeforethe specialpurpose grandjury had lawyers{andsome
had many). None, however,was permitted to have thoselawyersappearbeside him during the questioning,
giventhe rules of grand jury proceedings. There wasthus no opportunityfor a witness's attorneyto object
to a question from a prosecutor or to elicittestimonyfrom her client that might rebut or justify or explain
the witness"sanswers or conduct
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to present evidence outside the scope of what the District Attorney asked them. They
could not call their own witnesseswho might rebut what other State's witnesseshad said
and they had no ability to present mitigating evidence. Put differently,there was very
limited due process in this process for those who might now be named as indictment~
worthy in -thefinal report.s That does not mean that the DistrictAttorney'sinvestigative
process was flawed or improper or in any wayunconstitutional. By all appearances,the
special purpose grand jury did its work by the book. The problem here, in discussing
public disclosure, is that that book's rules do not allow for the objects of the District
Attorney's attention to be heard in the manner we require in a court oflaw.
        The consequenceof these due processdeficienciesis not that the specialpurpose
grand jury's final report is forever suppressedor that its recommendationsfor or against
indictment are in any way flawed or suspect. Rather, the consequence is that those
recommendations are for the District :Attorney'seyes only -- for now. Fundamental
fairness requires this, as a report that may recommendthat criminal chargesbe sought
against specificindividualsbut whichwas
        drafted after a secret investigationand based on an uncertain standard of
        proof, may be remembered long after ... denials or objections from its
        targets are forgotten. And the report's readers may understandably but
        incorrectly·assumethat at least the rudiments ofdue process -- notice and
        an opportunity to be heard - were offeredthe accused.




s Jt is true that evecywitness had the abilityto pause the proceedingsand consult with bis or her lawyer
outside the grand jury room -- and that lawyercouldthen escalateconcerns to the supervisingjudge if
necessary(whichsomedid quiteliberally)- but that is a poor and insufficientproxyfor the right to have
counselpresent in the grandjury room, ableto object,able to examine.herownclient,and ableto callother
witnesses. (Again,this is not a critiqueof the grandjur.y'sinvestigative·process;
                                                                               it occurredexactlyas the
grandjury rules envisioned.It is rather an effortto highlighthowimbalanced,incomplete,and one-sided
the processis for someonewho mightbe the target of the DistrictAttorney's(and grandjurys) attention.)

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Thompson v. Macon-Bibb Cnty. Hosp. Auth., 246 Ga. 717, 779 (1980), quoting In re

Grand Jury of Hennepin County, 271 N,W,2d 817, 819 (1978) (punctuation omitted).6

This is particularly true if the grand jury's final report includes recommendations

involving individu1'ls who never appeared before the grand jury and so had no

opportunity, limited or not, to be heard. The constitutionallyprotecteddue process rights
of anyone who may be named in the final report also require this outcome: when

"identifiable individuals referred to in such [reports] are afforded no statutory
mechanism by which they may respond to the charges against them, 'serious questions of
due process and fairness•are raised" In re Presentments of Lowndes Cnty. Grand Jury,

March Term 1982, 166 Ga. App. 258; 258 (1983), quoting Thompson, 246 Ga. at 778;see

also Kelley v. Tanksley, 105 Ga.App. 65 (1961) (restriction on publication necessarywhen

grand jury report is critical of identifiableindividualsbut no indictment is returned).
        A rare instance in which a general presentment (a/k/a final report) that was highly

critical of the performance of a public figure but which was nonethele.ss allowedto be
published illustrates this point about due process. Vernon Jones, in an earlier political

incarnation, served as the ChiefExecutiveOfficerof DeKalbCounty from 2001-2009.                       A
DeKalb County grand jury, following its investigation into Jones's alleged misuse of

County funds in demanding and apparently over-deployinga personal security detail,
issued a scathing report about his (mis)conduct. Jones sought to quash the report,

contending that the grandjucy was acting ultra vires when it criticizedhim. A trial judge




6 Thompson was a somewhat fractured opinion. Its author, Justice Nichols, secured two fullconcurrences
and three special concurrences (two of whichwere in thejudgment only). There was also a wordless dissent.
This splintered outcomeseemsto have had no impact on Thompson~ precedential value, as it is routinely
cited without reservation or reference to the split decision.
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sealed evecything and sent the issue to the Court of Appeals, which ruled that the report

could be published pursuant to O.C.G.A.§ 15-12-80because
       Jones had an opportunity to testify before the grand jury under oath [and]
       those individuals that he would have called as witnesses also testified under
       subpoena; therefore, any of his due process rights under Thompson v.
       Macon-Bibb County Hosp.Auth., 246 Ga. 777,273 S.E.2d 19 (1980), were
       satisfied.

In re July-August, 2003 DeKalb Cnty. Grand Jury, 265 Ga. App. 870, 871 (2004). In

other words, the Court of Appeals determined, in that unique scenario, that Jones -- who

testified and who had all witnesses he would have called if presenting his side of the

security detail story testify as well ...:enjoyed sufficient due process for the report to be

published. Here, however, for anyone named in the special purpose grand jury's final

report who was not afforded the opportunity to appear before the grand jury, none of

those due process rights has been satisfied. And for those who did appear -- willinglyor

not -- only the right to be heard (although without counsel or rebuttal) was protected.

Given that, the Court finds that full disclosure of the final report at this time is not proper

under Thompson, Kelley, and their progeny.

       There are, however, three parts of the final report that are ripe for publication.

They do not implicate the concerns raised in Thompson and Kelley, and, while publication

may not be convenient for the pacing of the District Attorney's investigati~n, the
compelling public interest in these proceedings and the unquestionable value and

importance of transparency require their release. These three portions inclµde the

introduction and conclusion to the final report, as well as Section VIII, in which the,

special purpose grand jury discusses its concern that some witnesses may have lied under

oath during their testimony to the grand jury. Because the grand jury does not identify

those witnesses, that conclusion may be publicly disclosed at this time.

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        Therefore, con~istentwith the special purpose grand jury's recommendation made

pursuant to.0. C.G.A. § 15-12-80 that its final report be published, those three portions of

the report will be placed in the docket for this matter (making those excerpts -- but only

those excerpts -- a "court record'') on 16 Febrnary 2023. 'the several-day delay willallow

the District Attorney's team to meet with the undersigned, if necessary, to discuss logistics

of publication and to determine if any portion of those three parts of the final report

should be redacted for other reasons (notice of which will be provided in the 16 February

2023   docket entry).

        Finally,the Court,directs the District Attorney's Officeto provide periodic.updates

on the progress of its investigation so that the Court .can reassess.if other part.,:;of the

special purpose grand jury's final report can properly be ,disclosed,consistent with the

analysis set forth above.




                                                 Judge Robert CJ. McBurney
                                                 Superior Court of Fulton County
                                                 Atlanta Judicial Circuit




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          EXHIBIT ''B''
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Court of Appeals
of the State of Georgia

                                                               ATLANTA, April 10, 2023

The Court of Appeals hereby passes the following order

A23D0269. IN RE: 2 MA Y'2022 SPECIAL PURPOSE GRAND JURY .


     Upon consideration of the Application for Discretionary Appeal, it is ordered that it be

hereby GRANTED. The Appellant may file a Notice of Appeal within 10 days of the date of

this order. The Clerk of Superior Court is directed to include a copy of this order in the record

transmitted to the Court of Appeals.


LC NUMBERS:

2022EX000024




                                       Court of Appeals of the State of Georgia
                                            Clerk's Office, Atlanta, April JO, 2023.

                                            I certify that the above is a true extract from the minutes
                                       of the Court of Appeals of Georgia.

                                             Witness my signature and the seal of said court hereto
                                       affixed the day and year last above written.

                                                        t                 , Clerk.
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          EXHIBIT ''C''
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            SUPREME COURT OF GEORGIA
            Case No. S23D0646


                                                 March 1, 2023

     The Honorable Supreme Court met pursuant to adjournment.

The following order was passed:

     IN RE: 2 MAY 2022 SPECIAL PURPOSE GRAND JURY.

       Applicants seek review of the Fulton County Superior Court's
February 13, 2023 order on the Final Report of the 2 May 2022
Special Purpose Grand Jury. In that order, the superior court ruled
that much of the Report should not be disclosed until the district
attorney completes her investigation. Applicants filed this
application on February 24, 2023, asserting that this Court's
jurisdiction is invoked on the basis of its jurisdiction over cases
involving constitutional questions. See Ga. Const. of 1983, Art. VI,
Sec. VI, Par. II (1). However, the trial court did not make a distinct
ruling on any constitutional challenge to a statute, and Applicants'
arguments that the superior court's rulings are irreconcilable with
constitutional principles concerning the rights to access court
records, free speech, and due process under both the United States
and Georgia Constitutions require "the mere application of well
 settled constitutional principles" and thus do not invoke this Court's
constitutional question jurisdiction. Woods v. State, 310 Ga. 358, 359
 (850 SE2d 735) (2020). See also Zepp v. Mayor & Council of City of
Athens, 255 Ga. 449, 450 (339 SE2d 576) (1986) (stating that a
 constitutional question within the jurisdiction of this Court
 "involves either a construction of some federal or state constitutional
 provision, or an attack upon the constitutionality of some law of this
 state or the United States (or an ordinance)").
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      Accordingly, this Court's constitutional question jurisdiction is
not invoked, and as no other basis for the exercise of this Court's
jurisdiction is apparent from the record, see Ga. Const. of 1983, Art.
VI, Sec. VI, Par. II-III; OCGA § 15-3-3.1, this application is
transferred to the Court of Appeals.

     All the Justices concur.




                          SUPREME COURT OF THE STATE OF GEORGIA
                                     Clerk's Office, Atlanta

                               I certify that the above is a true extract from the
                       minutes of the Supreme Court of Georgia.
                              Witness my signature and the seal of said court hereto
                       affixed the day and year last above written.


                                                   JczSi,      ,,._.1, Clerk




                                      2
